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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                               )
DONALD J. TRUMP FOR PRESIDENT,                 )
INC., et al.,                                  )
                                               )
                             Plaintiffs,       )
                                               )
      v.                                       )       Civil Action No. 2:20-cv-00966-NR
                                               )
KATHY BOOCKVAR, in her capacity as             )       Judge J. Nicholas Ranjan
Secretary of the Commonwealth of               )
Pennsylvania, et al.,                          )
                                               )
                             Defendants.       )
                                               )

                   DEFENDANT-INTERVENORS CITIZENS FOR
                 PENNSYLVANIA’S FUTURE AND SIERRA CLUB’S
               MOTION TO COMPEL DISCOVERY FROM PLAINTIFFS

       Proposed Defendant-Intervenors Citizens for Pennsylvania’s Future and Sierra Club, by

and through their undersigned counsel, hereby move this Court for an order compelling discovery

from Plaintiffs. See Proposed Order. In support of this motion, Defendant-Intervenors Citizens

for Pennsylvania’s Future and Sierra Club incorporate the accompanying Memorandum of Law.

 Dated: August 12, 2020                            Respectfully submitted,

                                                   /s/ Eliza Sweren-Becker
                                                   Myrna Pérez
                                                   Eliza Sweren-Becker
                                                   BRENNAN CENTER FOR JUSTICE
                                                   AT NYU SCHOOL OF LAW
                                                   120 Broadway, Suite 1750
                                                   New York, NY 10271
                                                   Telephone: 646.292.8310
                                                   myrna.perez@nyu.edu
                                                   eliza.sweren-becker@nyu.edu

                                                   Sascha N. Rand (pro hac vice forthcoming)
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                               David Cooper (pro hac vice forthcoming)
                               Ellyde R. Thompson (pro hac vice
                               forthcoming)
                               Ellison Merkel (pro hac vice forthcoming)
                               Owen Roberts (pro hac vice forthcoming)
                               QUINN EMANUEL URQUHART &
                               SULLIVAN LLP
                               51 Madison Avenue, 22nd Floor
                               New York, NY 10010
                               Telephone: 212.849.7175
                               sascharand@quinnemanuel.com
                               davidcooper@quinnemanuel.com
                               ellydethompson@quinnemanuel.com
                               ellisonmerkel@quinnemanuel.com
                               owenroberts@quinnemanuel.com

                               Counsel for Proposed Defendant-Intervenors
                               Citizens for Pennsylvania’s Future and Sierra
                               Club
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA



                                                  )
DONALD J. TRUMP FOR PRESIDENT,                    )
INC., et al.,                                     )
                                                  )
                              Plaintiffs,         )
                                                  )
      v.                                          )     Civil Action No. 2:20-cv-00966-NR
                                                  )
KATHY BOOCKVAR, in her capacity as                )     Judge J. Nicholas Ranjan
Secretary of the Commonwealth of                  )
Pennsylvania, et al.,                             )
                                                  )
                              Defendants.         )
                                                  )


                                CERTIFICATE OF COUNSEL

       In accordance with § II(e) of this Court’s Practices and Procedures, I certify that, on August

10, 2020, counsel for Proposed Defendant-Intervenors Citizens for Pennsylvania’s Future and

Sierra Club (Myrna Perez) met and conferred with counsel for Plaintiffs (Ronald L. Hicks, Jr.,

Russell D. Giancola, Jeremy A. Mercer, Matthew E. Morgan, and Justin Clark) on Plaintiffs’

objections to Defendant-Intervenors’ discovery requests.       Counsel for Proposed Defendant-

Intervenors Citizens for Pennsylvania’s Future and Sierra Club and Plaintiffs were unable to

resolve Plaintiffs’ objections to Defendant-Intervenors’ discovery requests, thus necessitating a

Motion to Compel.



                                    [Signature on Next Page]
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Dated: August 12, 2020                Respectfully submitted,
                                      /s/ Eliza Sweren-Becker
                                      Myrna Perez
                                      Brennan Center for Justice
                                      Counsel for Proposed Defendant-Intervenors
                                      Citizens for Pennsylvania’s Future and Sierra
                                      Club
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                               CERTIFICATE OF SERVICE

       I, Eliza Sweren-Becker, certify that I served the foregoing Defendant-Intervenors Citizens

for Pennsylvania’s Future and Sierra Club’s Motion to Compel Discovery from Plaintiffs on the

following counsel who are registered as CM/ECF filing users who have consented to accepting

electronic service through CM/ECF:

All Counsel of Record


 Dated: August 12, 2020                          Respectfully submitted,
                                                 /s/ Eliza Sweren-Becker
                                                 Counsel for Proposed Defendant-Intervenors
                                                 Citizens for Pennsylvania’s Future and Sierra
                                                 Club
